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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION

THE UNITED STATES OF AMERICA,                       )
                                                    )
                      Plaintiff,                    )
v.                                                  )      4:20CR82
                                                    )
DARRYL KINLOCH,                                     )
                                                    )
        Defendant.                                  )


                                          ORDER

       Counsel in the above-captioned case have advised the Court that some of the pretrial

motions have been complied with as to defendant, Darryl Kinloch. A hearing regarding the

remaining motions will be set by separate Notice.

       IT IS ORDERED THAT the following motionV DUH DISMISSED:

       (Doc. 17) Motion for Discovery,

       (Doc. 18) Motion for Release of Brady Materials,

       (Doc. 19) Motion for Agents to Retain Notes, and

       (Doc. 20) Motion for Notice of Expert Testimony.


       SO ORDERED, this VW day of December 2020.



                                            ______________________________
                                            _ ___________________
                                            __            _    _ _________
                                            CHRISTOPHER
                                            CHRISTO OPHER L. RAY
                                            UNITED STATES MAGISTRATE
                                                             MAGISTTRAT JUDGE
                                            SOUTHERN DISTRICT OF GEORGIA
